
USCA1 Opinion

	










          June 27, 1995         [NOT FOR PUBLICATION]

                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT


                             
                                 ____________________



        No. 94-2078 


                                    GILBERT DIAS,

                                Plaintiff, Appellant,

                                          v.

                 RONALD DUVAL, SUPERINTENDENT, M.C.I. CEDAR JUNCTION,

                                 Defendant, Appellee.


                                 ____________________


                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

                    [Hon. Richard G. Stearns, U.S. District Judge]

                                 ____________________

                                        Before

                                Torruella, Chief Judge,
                                           ___________
                          Selya and Boudin, Circuit Judges.
                                            ______________

                                 ____________________

            Gilbert Dias on brief pro se.
            ____________
            Nancy  Ankers  White,  Special  Assistant  Attorney  General,  and
            ____________________
        Sondra M.  Korman, Counsel,  Department  of Correction,  on brief  for
        _________________
        appellees.


                                 ____________________


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                      Per Curiam.  We  have carefully reviewed the briefs
                      __________

            and record  and conclude that summary  judgment was correctly

            entered for defendants.   We  briefly comment  on several  of

            plaintiff's arguments.

                      1.   Plaintiff  contends  that  the district  court

            should  have  granted  his  request for  additional  time  to

            respond to defendants'  motion for summary judgment.   By the

            time plaintiff's motion was  docketed, the district court had

            already  entered  judgment  for  defendants.    Consequently,

            plaintiff's motion, in its  present form, was moot.   At that

            point,  if  plaintiff  still  wanted to  file  a  substantive

            response  to  defendants'  motion for  summary  judgment,  he

            should have timely filed a motion under Fed. R. Civ. P. 59(e)

            or Fed.  R. Civ. P. 60(b) asking the district court to vacate

            its judgment and consider plaintiff's response.  As plaintiff

            did not do either and never filed a substantive opposition to

            defendants'  motion for  summary  judgment,  we  confine  our

            review to the district  court record and do not  consider any

            new  factual allegations  plaintiff raises  in his  appellate

            brief.






















                      2.  The  one instance  in which  plaintiff did  not

            receive  one of his four daily dosages of pain medication did

            not amount to an Eighth Amendment violation.

                      As  for the prescribed medication plaintiff says he

            kept  in his cell, plaintiff's January 28, 1993 letter to Lt.

            Silva  requested  that  all   his  property  be  mailed  out.
                                    ___

            Plaintiff did  not specifically  point out an  immediate need

            for the  medications.   In those circumstances,  the district

            court  could  properly  conclude  that  summary judgment  was

            appropriate  because  plaintiff had  not  shown  a basis  for

            inferring  that defendants  were deliberately  indifferent to
                                             ____________

            plaintiff's medical needs.

                      Defendants'   submissions  showed   that  plaintiff

            consistently   refused  to  comply   with  alternate  feeding

            procedures either by remaining silent, saying no, or claiming

            he wasn't hungry.  Below, plaintiff described only one of the

            meals tendered -- a cheese sandwich.  In these circumstances,

            where plaintiff  was repeatedly  afforded  an opportunity  to

            come off  alternate feeding but did  not cooperate, plaintiff

            may  not   properly  complain  that  defendants   denied  his

            medically prescribed diet.

                      3.    Plaintiff contends  he  was  deprived of  the

            necessities of life in violation of the Eighth Amendment when

            he was  placed  on  alternate  feeding and  for  some  period

            thereafter.   We  confine our  review to  the  district court



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            record and do not  consider the new allegations  presented in

            plaintiff's appellate brief.  On that basis, we conclude that

            the  temporary restrictions,  which,  according to  the  fair

            thrust  of the  district court record,  lasted under  a week,

            were not  unconstitutionally cruel.  Our affirmance, however,

            is  without prejudice  to plaintiff's  bringing a  new action

            challenging  the conditions  of his  confinement once  he was

            placed  on  alternate  feeding.    In  his  appellate  brief,

            plaintiff asserts that he  had no clothes, was confined  to a

            cold cell twenty-four hours  a day, was denied  blankets, had

            no  running water, and was not allowed to shower from January

            26,  1993 until February 16, 1993.  While his allegations are

            somewhat vague, undeveloped, and even contradictory at times,

            we think  plaintiff should be afforded  a further opportunity

            to  clarify  his   allegations,  particularly   in  view   of

            plaintiff's unsuccessful attempt below to extend the time for

            responding  to  defendants'  motion  for   summary  judgment.

            Consequently, we direct that the summary judgment entered for

            defendants be  without prejudice to plaintiff's  filing a new

            action  challenging the  conditions of  his confinement  from

            January 26, 1993 to February 16, 1993.

                      4.   Plaintiff contends  he was denied  due process

            during  his  disciplinary  hearing.    Summary  judgment  was

            properly entered for defendants.  Plaintiff was not convicted

            of  any  throwing offense.    Plaintiff's  attacks on  Lopes'



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            allegations and the evidence  relating to that charge  do not

            state  any due process claim.   Freeman v.  Rideout, 808 F.2d
                                            _______     _______

            949,   951-53  (2d   Cir.  1986)   ("prison  inmate   has  no

            constitutionally  guaranteed immunity  from being  falsely or

            wrongly  accused   of  conduct   which  may  result   in  the

            deprivation of a protected  liberty interest"), cert. denied,
                                                            ____________

            485 U.S. 982  (1988).  Prison officials gave adequate reasons

            for denying  two of plaintiff's requested  witnesses, and the

            verbal insolence  finding  was adequately  supported  by  the

            evidence.

                      We have considered all of plaintiff's arguments and

            affirm the judgment below, but  direct that the affirmance is

            without  prejudice   to  plaintiff's  filing  a   new  action

            challenging the  conditions of  his confinement  from January

            26, 1993 until February 16, 1993.























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